               Case 1:25-cv-11571-JEK        Document 13-4        Filed 06/13/25     Page 1 of 2

                           UNITED STATES DEPARTMENT OF JUSTICE
                         EXECUTIVE OFFICE FOR IMMIGRATION REVIEW
                             CHELMSFORD IMMIGRATION COURT

Respondent Name:                                        A-Number:
      OLIVEIRA GOMES, CLEBERSON                         226-040-357
                                                        Riders:
To:
                                                        In Removal Proceedings
      OLIVEIRA GOMES, CLEBERSON                         Initiated by the Department of Homeland Security
      103 HAMILTON ST                                   Date:
      APT 1                                             05/29/2025
      WORCESTER, MA 01604-2253



                         ORDER OF THE IMMIGRATION JUDGE


                                           Scheduling Order



      Order:
      The Department of Homeland Security has filed a motion to dismiss proceedings to place the
      respondent in expedited removal proceedings. The Department argues that the circumstances
      have changed since the issuance of the Notice to Appear. The respondent shall file a response
      in writing as to why the court should not grant the Department's motion within ten days of the
      issuance of this order, no later than June 9, 2025.
          Case 1:25-cv-11571-JEK      Document 13-4       Filed 06/13/25    Page 2 of 2




                                                          Immigration Judge: FROES, NINA 05/29/2025

Appeal:       Department of Homeland Security:      waived          reserved
              Respondent:                           waived          reserved
Appeal Due:


                                      Certificate of Service
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Respondent Name : OLIVEIRA GOMES, CLEBERSON | A-Number : 226-040-357
Riders:
Date: 05/29/2025 By: GUBBINS, MATTHEW, Court Staff
